
In re Alexandria Anesthesia Serv.;— Plaintiff(s); applying for writ of certiorari and/or review, supervisory and/or remedial writs; to the Court of Appeal, Third Circuit, Nos. CW91-0130, CW91-0156; Parish of Rapides, 9th Judicial District Court, Div. “E”, No. 157,696.
Prior report: La.App., 576 So.2d 1236, 576 So.2d 1237.
Granted in part. The summary judgment rendered by the Court of Appeal in favor of Dr. Firman, individually, releasing her from any liability is reversed and set aside; the application is otherwise denied.
DENNIS and WATSON, JJ., would deny the writ.
